   ,   .           Case 8:10-cr-00777-DKC           Document 922         Filed 12/11/14        Page 1 of 2




                                    UNITED STATES DISTRICT COURT
                                        DISTRICT OF MARYLAND

       ROGER W. TITUS                                                                         6500 CIlERRYWoon    LA;'oiE
UNITE!) STATES DISTRICT .JUDGE                                                               GREE:'/IlELT. )IARYUNn     20770
                                                                                                    301.344-0052




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                                                 MEMORANDUM                             --        LOGGED--RECEIVED

                                                                                                    DEC 11 2014
           TO:            Counsel of Record                                                    1" GREEN8ELT
                                                                                         CLERK, U.S DISTRICT COU
                                                                                      BY   DISTRICT 0= 1.'.A,RYlANDRT
           FROM:          Judge Roger W. Titus                                                                       DEPUTY

           RE:            United States of America v. Matt Nicka and Gretchen Peterson
                          Criminal Case No. RWT 10-0777

           DATE:          December 11,2014

                                                      ********
                 The parties are directed      to comply with this Court's        Order of October 6, 2014,
           Ecr No. 901.
                    All pretrial motions are to be filed on or before December 19, 2014. While there may
           be some circumstances under which pretrial motions must, of necessity, be fairly limited as to
           details, the expectation of the Court is that any pertinent details will be included in a reply
           memorandum.         Please remember that it is difficult for the Court to decide motions in a
           conscientious manner if pertinent facts or authorities are disclosed for the first time during the
           hearing on the motion.

                   Not less than fourteen (14) days prior to the date of trial, the parties shall jointly prepare
           and submit to the court proposed voir dire questions, jury instructions and a verdict form and
           submit, separately, any voir dire questions, jury instructions or verdict form upon which they are
           unable to agree. If the parties are in agreement as to any pattern jury instructions included in
           L. Sand, et al., Modern Federal Jury Instructions: Criminal Pattern Instructions, (Matthew
           Bender & Co., Inc.), they need only submit a list of the instruction numbers in the order in which
           they are proposed to be submitted to the jury. If a modified form of a pattern jury instruction is
           proposed, it should be submitted in red-line format to highlight the changes.
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              On January 5, 2015 at 4:00 p.m., a status conference will be held before the
     undersigned. The status conference will be conducted by a telephone conference call initiated by
     counsel for the government. At the status conference, the parties should be prepared to discuss
     the following:

            1.     The status of any pending motions and whether there is any need for the filing of
                   additional motions.

            2.     A report from counsel on the status of any negotiations between the parties that
                   might lead to a plea agreement and, if so, removal of the case from the trial
                   calendar and scheduling of a date for the entry of a guilty plea.

            3.     An updated estimate from both parties as to the length of the trial.

            4.     Whether there needs to be any change in the date of the trial and, if so, the
                   establishment of a new trial date.

            5.     Any other matters relating to the scheduling of the trial.

            Despite the informal nature of this memorandum, it shall constitute an Order of Court and
     be docketed accordingly.
